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8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                                         )   No.: M-07-5944 SC
11        In Re CATHODE RAY TUBE (CRT)                   )
          ANTITRUST LITIGATION                           )   MDL NO. 1917
12                                                       )
                                                         )   STIPULATION AND [PROPOSED]
13                                                       )   ORDER REGARDING THE
          This Document Relates to:
                                                         )   PRODUCTION OF ELECTRONICALLY
14
          ALL ACTIONS.                                   )   STORED INFORMATION
15                                                       )

16
17   I.       PRODUCTION OF ELECTRONICALLY STORED INFORMATION
18              A.   Definitions
19                   1. Document(s)” means electronically stored information (ESI) existing in any
20                       medium from which information can be obtained or translated into
21                       reasonably usable form.
22                   2. “Native File(s)” means ESI in the file type for (or of) the application in
23                       which such ESI is normally created, viewed and/or modified.
24                   3. “Metadata” means: (i) information embedded in a Native File that is not
25                       ordinarily viewable or printable from the application that generated, edited,
26                       or modified such Native File; and (ii) information generated automatically
27                       by the operation of a computer or other information technology system when
28                                                   1
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 1                    a Native File is created, modified, transmitted, deleted or otherwise
 2                    manipulated by a user of such system.
 3               4. “Static Image(s)” means a representation of ESI produced by converting a
 4                    Native File into a standard image format capable of being viewed and
 5                    printed on standard computer systems. A Tagged Image File Format (TIFF)
 6                    image is an example of a Static Image.
 7               5. “Load/Unitization file” means an electronic file containing information

8                     identifying a set of paper-scanned images or processed ESI and indicating
 9                    where individual pages or files belong together as documents, including
10                    attachments, and where each document begins and ends. A
11                    Load/Unitization file will also contain data relevant to the individual
12                    Documents, including extracted and user created Metadata, coded data, as
13                    well as OCR or Extracted Text.
14               6. “OCR” means the optical character recognition file which is created by
15                    software used in conjunction with a scanner that is capable of reading
16                    text-based documents and making such documents searchable using
17                    appropriate software.
18               7. “Extracted Text” means the text extracted from a Native File and includes all
19                    header, footer and document body information.
20          B.   Form and Format for the Production of ESI and Paper Documents
                  Converted to Electronic Form
21
                 1.    Electronic Production of Paper Documents
22
                                a.   The parties will produce any paper Documents, including
23
                                     spreadsheets maintained in paper form, that have been
24
                                     scanned or otherwise converted into electronic form as of the
25
                                     time the documents are first produced in this litigation. The
26
                                     form of production shall be:
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28                                                 2
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 1                                   i.    TIFF images, consistent with the specifications in
 2                                         Section I.B.2.b.;
 3                                  ii.    The appropriate Load/Unitization files in accordance
 4                                         with Exhibit “A” and consistent with the
 5                                         specifications in Section I.B.5.; and
 6                                 iii.    Any searchable OCR text of scanned paper
 7                                         Documents created by the producing party, if any,
8                                          consistent with the specifications in Section I.B.4.
 9                            b.    This Stipulation creates no obligation upon the producing
10                                  party to convert paper documents into electronic form.
11                            c.    If, however, the producing party has converted paper
12                                  documents into electronic form as of the time the documents
13                                  are first produced in this litigation, the producing party shall
14                                  produce those documents in accordance with this Stipulation.
15               2.    Native Files to be Produced as Static Images
16                            a.    Except as otherwise stated below, or by order of the Special
17                                  Master, Native Files will be produced to the requesting party
18                                  as Static Images together with Load/Unitization files
19                                  specified below.
20                            b.    All Static Images will be produced as single page Black &
21                                  White, Group 4 TIFF (.TIF or .TIFF) files at 300 x 300 dpi
22                                  resolution and 8.5 x 11 inch page size, except for documents
23                                  that in the producing party’s reasonable judgment require a
24                                  different resolution or page size; provided, however, if a
25                                  color image is produced in black and white, the receiving
26                                  party may request the producing party to produce the original,
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28                                               3
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 1                                 color image, as single page, color Joint Photographic Experts
 2                                 Group (.JPEG or .JPG) files.
 3                            c.   All Static Image file names shall match the Bates number
 4                                 assigned to the image.
 5               3.    Production of Native Files
 6                            a.   The parties agree to produce Native Files of spreadsheet
 7                                 application files (e.g., MS Excel), presentation application
8                                  files (e.g. MS PowerPoint), and multimedia audio/video files
 9                                 (e.g., .wav, .mpeg, .avi), subject to the right of the producing
10                                 party to object to the native production of files where such
11                                 production would result in the disclosure of information that
12                                 is protected from disclosure by the attorney-client privilege
13                                 or the work product doctrine.
14                            b.   The parties agree to meet and confer informally regarding the
15                                 production of database application files (e.g., MS Access,
16                                 SQL, SAP) to determine the most reasonable form of
17                                 production based on the specific circumstances at hand.
18                                 Notwithstanding the foregoing, a party may elect to produce
19                                 Native Files of portable database application files (e.g.,
20                                 MS-Access) without the need to meet and confer regarding
21                                 the form of production.
22                            c.   A receiving party may request that the producing party
23                                 produce the Native File corresponding to a produced Static
24                                 Image, subject to reasonable objection by the producing party.
25                                 The request for production of any specific Native Files(s)
26                                 shall include the Bates numbers of the TIFF documents to
27                                 identify the corresponding Native File. Any produced Native
28                                              4
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 1                                 File will include the Bates number of the first page of the
 2                                 Bates range that corresponds to the TIFF image, followed by
 3                                 a carat delimiter, which shall be appended as a prefix to the
 4                                 file name.
 5                            d.   Through the pendency of the action, the producing party
 6                                 should exercise reasonable, good faith, efforts to maintain all
 7                                 preserved and collected Native Files in a manner that does
8                                  not materially alter or modify the file or the Metadata.
 9                            e.   No party may attach to any pleading or any correspondence
10                                 addressed to the Court, Special Master, or any adverse or
11                                 third party, or submit as an exhibit at a deposition or any
12                                 other judicial proceeding, a copy of any native format
13                                 document produced by any party without ensuring that the
14                                 corresponding Bates number and confidentiality legend, as
15                                 designated by the producing party, appears on the document.
16               4.    Production of Searchable Text
17                            a.   ESI shall be produced with multi-page searchable Extracted
18                                 Text. For ESI from which text cannot be extracted, OCR will
19                                 be produced instead, but only to the extent the producing
20                                 party has created OCR as of the time the documents are first
21                                 produced in this litigation, consistent with Section B (1) of
22                                 this agreement.
23                            b.   Any such Extracted Text or OCR will be produced on a
24                                 document level as .TXT files, with the Text filename
25                                 matching the Bates number applied to the first page of the
26                                 corresponding image file followed by .TXT. Text files will
27                                 be located in a directory named "TEXT" that is separate from
28                                              5
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 1                                 the TIFF image. Text files containing foreign,
 2                                 non-English, language text must be converted to
 3                                 standard 8-bit Unicode Transformation Format (UTF-8)
 4                                 format by the producing party prior to production.
 5               5.    Production of Load/Unitization Files
 6                            a.   There will be two Load/Unitization files accompanying all
 7                                 productions of ESI. One will be a Metadata import file,
8                                  in .dat format, that contains the agreed- upon Metadata fields
 9                                 in an ASCII text file using either Concordance default
10                                 delimiters or ^ carat and | pipe delimiters to separate the
11                                 fields and records. The second data file will be a
12                                 cross-reference file that contains the corresponding image
13                                 information. The acceptable formats for the cross-reference
14                                 files are .log, .opt, .lfp. Image load files should indicate page
15                                 breaks. A path to the corresponding .TXT file shall be
16                                 included as a field in the Metadata import file.
17                            b.   The appropriate Metadata import file will contain the
18                                 Metadata fields detailed and described in Exhibit A to this
19                                 stipulation and incorporated herein by reference, associated
20                                 with each electronic document (or their equivalents),
21                                 including the body of the document, to the extent the fields
22                                 exist as electronic Metadata associated with the original
23                                 electronic documents or are created as part of the electronic
24                                 data discovery process. Party-specific exceptions to the
25                                 required fields in Exhibit A are memorialized in separate side
26                                 letter agreements, which are attached hereto as Addenda.
27                                 The attached list of fields does not create any obligation to
28                                              6
        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
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 1                                 create or manually code fields that are not automatically
 2                                 generated by the processing of the ESI, or that do not exist as
 3                                 part of the original Metadata of the document; provided
 4                                 however, the producing party must populate the SOURCE
 5                                 and CUSTODIAN fields for all produced ESI, as well as
 6                                 paper Documents converted to electronic form as of the time
 7                                 the documents are first produced in this litigation, regardless
8                                  of whether these fields would be generated during typical
 9                                 processing of such documents. A producing party shall have
10                                 no obligation to provide FILEPATH information for
11                                 documents that a receiving party specifically requested and
12                                 the producing party collected by document type.
13                            c.   Any Native Files produced will be accompanied with a
14                                 Metadata import file that shall contain (i) the full directory
15                                 path and file names of the Native File(s) as contained in the
16                                 produced media and (ii) a uniform hash calculation field.
17               6.    Processing Specifications
18                            a.   When processing ESI, GMT should be selected as the time
19                                 zone. To the extent that a party has already processed ESI
20                                 using a different time zone, the producing party will note the
21                                 time zone used in its processing. Parties shall consistently
22                                 produce all ESI processed using the same time zone.
23                            b.   When processing ESI for review and for production in TIFF
24                                 format, the producing party will instruct its vendor to force
25                                 off Auto Date and force on hidden columns or rows, hidden
26                                 worksheets, speaker notes, track changes, and comments.
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28                                                 7
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 1                   7.    General
 2                                 a.    The producing party shall use reasonable efforts to avoid
 3                                       producing system and application files.
 4                                  b.   If the producing party redacts all or any portion of a Static
 5                                       Image, redactions not clearly indicated on the Static Image
 6                                       shall be noted in a user-generated field specified in Exhibit
 7                                       “A”, which the producing party shall provide in the
8                                        appropriate Load/Unitization file.
 9                                  c.   The parties may de-duplicate identical ESI vertically, by
10                                       custodian, or horizontally (i.e., globally). All custodians who
11                                       were in possession of a de-duplicated Document must be
12                                       identified in the CUSTODIAN_OTHER Metadata field
13                                       specified in Exhibit “A”, and all BCC recipients whose
14                                       names would have been included in the BCC Metadata field
15                                       but are excluded as the result of horizontal/global
16                                       de-duplication, must be identified in the BCC_OTHER
17                                       Metadata field specified in Exhibit “A”.
18   II.      TERM OF AGREEMENT
19            This Agreement shall continue in full force and effect until further order of the Court or
20            until this litigation is terminated by a final judgment.
21

22                   IT IS SO STIPULATED.
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           STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
                                             INFORMATION
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        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
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        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
                                          INFORMATION
     Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 11 of 25



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20                                 Ltd.)

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        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
                                          INFORMATION
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        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
                                          INFORMATION
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        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
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10
11          Pursuant to General Order, § X-B, the filer attests that the concurrence in the filing of
12   this document has been obtained from each of the above signatories.
13
14          PURSUANT TO STIPULATION, IT IS SO ORDERED.
15                                                              TE
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 1                                              Exhibit A
 2                                 Metadata Fields for Production
 3   Note: Metadata Field names may vary depending on the application which generate them. For
 4   example, Microsoft Outlook creates different Metadata Field names than does Lotus Notes.
 5   Accordingly, the chart below describes the Metadata Fields to be produced in generic,
 6   commonly used terms which the Producing Party is to adapt to the specific types of ESI it is
 7   producing. Any ambiguity about a Metadata Field is to be discussed with the Receiving Party
8    prior to processing the subject ESI for production.
 9
                                                                                            Doc
10            Field                    Definition
                                                                                            Type
11       1    SOURCE                   Name of party producing the document                  All
         2    CUSTODIAN                Name of person from whose files the document          All
12                                     is produced
         3    CUSTODIAN_               Name of person(s), in addition to the                All
13            OTHER                    Custodian, from whose files the document
14                                     would have been produced if it had not been
                                       de-duplicated.
15       4    BEGBATES                 Beginning Bates Number (production number)           All
         5    ENDBATES                 End Bates Number (production number)                 All
16       6    PGCOUNT                  Number of pages in the document                      All
         7    FILESIZE                 File Size                                            All
17
         8    APPLICAT                 Application used to create document                  All
18       9    FILEPATH                 File source path for all electronically collected    All
                                       documents, which includes location, folder
19                                     name, file name, and file source extension
        10    NATIVEFILELINK           For documents provided in native format only         All
20
        11    TEXTPATH                 File path for OCR or Extracted Text files per        All
21                                     paragraph (d) above
        12    REDACTED                 User-generated field that will indicated             All
22                                     redactions made to Static Images, if such
                                       redactions are not clearly indicated on the Static
23                                     Image
24      13    FOREIGNLANG              The existence of any foreign (non-English)           All
                                       language text in a document, as identified
25                                     during processing or review by the producing
                                       party
26

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28                                                  i
        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
                                          INFORMATION
                                           EXHIBIT “A”
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 1
                                                                                      Doc
 2           Field               Definition
                                                                                      Type
 3      14   HANDWRITING         The existence of any handwritten text in a            All
                                 document, as identified during processing or
 4                               review by the producing party
        15   MSGID               Hash or SHA Value for Emails                        Email
 5      16   FROM                Sender                                              Email
 6      17   TO                  Recipient                                           Email
        18   CC                  Additional Recipients                               Email
 7      19   BCC                 Blind Additional Recipients                         Email
        20   BCC_OTHER           Blind Additional Recipients who would have          Email
8                                shown in the “BCC” field had the originally sent
                                 Native email not been de-duplicated.
 9
        21   SUBJECT             Subject line of email                               Email
10      22   PARENTBATES         BeginBates number for the parent email of a         Email
                                 family (will not be populated for documents that
11                               are not part of a family)
        23   ATTACHBATES         Bates number from the first page of each            Email
12                               attachment
13      24   BEGATTACH           First Bates number of family range (i.e. Bates      Email
                                 number of the first page of the parent email)
14      25   ENDATTACH           Last Bates number of family range(i.e. Bates        Email
                                 number of the last page of the last attachment)
15      26   ATTACHCOUNT         Number of attachments to an email                   Email
16      27   ATTACHNAME          Name of each individual attachment                  Email
        28   DATESENT            Date Sent                                           Email
17           (mm/dd/yyyy)
        29   TIMESENT            Time Sent                                            Email
18      30   DATERCVD            Date Received                                        Email
        31   TIMERCVD            Time Received                                        Email
19
        32   CAL_START           Calendar/ Appointment start date and time           Email,
20                                                                                   Various
        33   MSGCLASS            Type of item, e.g. email, calendar item, contact,   Email,
21                               note, task                                          Various
        34   Attendees/          Calendar/Appointment                                Email,
22           Participants        Attendees/Participants/Recipients                   Various
23      35   HASHVALUE           MD5 Hash or SHA Value for Edocs                     Edocs

24      36   RECORDTYPE          Descriptive field created by the vendor               All
                                 processing software (e.g. email, edoc, image,
25                               attachment)
        37   TITLE               Title field value extracted from the metadata of    Edocs
26
                                 the native file.
27      38   AUTHOR              Creator of a document                               Edocs

28                                              ii
        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
                                          INFORMATION
                                           EXHIBIT “A”
     Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 17 of 25



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 2
                                                                                       Doc
 3           Field               Definition
                                                                                      Type
 4      39   DATECRTD            Creation Date                                        Edocs
             (mm/dd/yyyy)
 5      40   TIMCRTD             Creation Time                                        Edocs
        41   LASTAUTHOR          Last Saved field contained in the metadata of the    Edocs
 6                               native file
 7      42   LASTMODD            Last Modified Date                                   Edocs
             (mm/dd/yyyy)
8       43   LASTMODT            Last Modified Time                                   Edocs
        44   FILEEXT             File extension of the native file (e.g., XLS, DOC,    All
 9                               PDF)
        45   MAILSTORE           Original path of mail store                          Email,
10
                                                                                      various
11      46   SENSITIVITY         Sensitivity field extracted from native email        Email,
                                 message other other Outlook item.                    various
12      47   CONVERSATION        Email thread identifier.                              Email
             _INDEX
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28                                               iii
        STIPULATION AND [PROPOSED] ORDER REGARDING PRODUCTION OF ELECTRONICALLY STORED
                                          INFORMATION
                                           EXHIBIT “A”
      Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 18 of 25



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21
                                 UNITED STATES DISTRICT COURT
22
                              NORTHERN DISTRICT OF CALIFORNIA
23

24
      In Re CATHODE RAY TUBE (CRT)                       No.: M-07-5944 SC
25
      ANTITRUST LITIGATION,
                                                         MDL NO. 1917
26

27

28   (caption continued)
                                                     1                            CASE NO. M-07-5944 SC
                       ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
     DB2/22038368.1
       Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 19 of 25



 1                                                        ADDENDUM TO STIPULATED ORDER
       This Document Relates to:                          REGARDING THE PRODUCTION OF
 2
                                                          ELECTRONICALLY STORED
       ALL ACTIONS.
 3                                                        INFORMATION

 4

 5             WHEREAS, Hitachi, Ltd., Hitachi Displays, Ltd., Hitachi Asia, Ltd., Hitachi America,
 6   Ltd., and Hitachi Electronic Devices (USA), Inc. (collectively the “Hitachi Defendants”) have
 7   informed the Indirect Purchaser Plaintiffs and Direct Purchaser Plaintiffs (jointly “Plaintiffs”) that
8    their vendor is incapable of producing four metadata fields identified in Exhibit A to the Stipulated
 9   Protective Order regarding the Production of Electronically Stored Information (the “Stipulated
10   Order”) at Row 32 (CAL_START), ROW 34 (ATTENDEES/PARTICIPANTS), Row 41 (LAST
11   AUTHOR), and Row 46 (SENSITIVITY);
12             WHEREAS, the Hitachi Defendants further have informed Plaintiffs that to produce the
13   metadata identified in Exhibit A to the Stipulated Order at Row 47 (CONVERSATION_INDEX),
14   would be overly burdensome and costly;
15             WHEREAS, the Hitachi Defendants have requested, based on the foregoing, to be excused
16   from producing the five above-mentioned metadata fields; and
17             WHEREAS, Plaintiffs are willing to enter into this Addendum to the Stipulated Order
18   based on the verbal and written representations made by Counsel to the Hitachi Defendants and
19   the Hitachi Defendants’ electronic discovery vendor, Iron Mountain/Stratify.
20             NOW, THEREFORE,
21             1. Plaintiffs and the Hitachi Defendants agree that as to any document production by any
22   of the Hitachi Defendants that would be subject to the Stipulated Order, the Parties acknowledge
23   and agree that the Hitachi Defendants are not obligated to produce the five following metadata
24   fields:
25                    a. CAL_START
26                    b. ATTENDEES/PARTICIPANTS
27                    c. LAST AUTHOR
28
                                                      2                                 CASE NO. M-07-5944 SC
                         ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
     DB2/22038368.1
       Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 20 of 25



 1                    d. SENSITIVITY
 2                    e. CONVERSATION_INDEX
 3            2. If, following the entry of this Stipulation, the Hitachi Defendants acquire the capability
 4   of processing and producing, without subjecting the Hitachi Defendants to undue burden or costs,
 5   one      or      more   of     the    above-listed     metadata      fields   (i.e.,      CAL_START,
 6   ATTENDEES/PARTICIPANTS, LAST AUTHOR, SENSITIVITY, or CONVERSATION_
 7   INDEX), the Hitachi Defendants agree to include such metadata field or fields in all future
8    document productions to Plaintiffs.
 9            This Agreement shall continue in full force and effect until further order of the Special
10   Master or until this litigation is terminated by a final judgment.
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12                    IT IS SO STIPULATED.
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                                                       3                                    CASE NO. M-07-5944 SC
                         ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
     DB2/22038368.1
       Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 21 of 25



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                                                   Ltd., Hitachi Electronic Displays (USA), Inc.
22
23

24            Pursuant to General Order, § X-B, the filer attests that the concurrence in the filing of this
25   document has been obtained from each of the above signatories.
26

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                                                        4                                  CASE NO. M-07-5944 SC
                         ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
     DB2/22038368.1
     Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 22 of 25



 1   Counsel Listed On Signature Block
 2
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8                               UNITED STATES DISTRICT COURT
 9                           NORTHERN DISTRICT OF CALIFORNIA
10
                                                         )   No.: M-07-5944 SC
11     In Re CATHODE RAY TUBE (CRT)                      )
       ANTITRUST LITIGATION                              )   MDL NO. 1917
12                                                       )
                                                         )   ADDENDUM TO STIPULATED ORDER
13                                                       )   REGARDING THE PRODUCTION OF
       This Document Relates to:
                                                         )   ELECTRONICALLY STORED
14
       ALL ACTIONS.                                      )   INFORMATION
15                                                       )

16
17          WHEREAS, Panasonic Corporation, Panasonic Corporation of North America and MT
18   Picture Display Co., Ltd. (the “Panasonic Defendants”) have informed the Indirect Purchaser
19   Plaintiffs and Direct Purchaser Plaintiffs of potential issues with producing two metadata fields
20   identified in Exhibit A to the Stipulated Order regarding the Production of Electronically Stored
21   Information (the “Stipulated Order”) at Row 32 (CAL_START) and Row 46 (SENSITIVITY);
22          WHEREAS, the Panasonic Defendants have represented that they will continue to
23   undertake reasonable, good-faith efforts to work with their vendor to extract this metadata
24   while processing the native Electronically Stored Information and subsequently include that
25   metadata in their productions;
26          AND WHEREAS, the Panasonic Defendants, Indirect Purchaser Plaintiffs and Direct
27   Purchaser Plaintiffs are otherwise in mutual agreement with all other terms and conditions as
28   set forth in the Stipulated Order.
                                                     1
                     ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
     Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 23 of 25



 1          NOW, THEREFORE,
 2          1.      The Panasonic Defendants agree to continue to undertake reasonable, good-faith
 3   efforts to resolve the issues with their vendor in extracting the above-identified CAL_START
 4   and SENSITIVITY metadata fields during processing.
 5          2.      The Panasonic Defendants, Indirect Indirect Purchaser Plaintiffs and Direct
 6   Purchaser Plaintiffs agree to continue to informally meet and confer regarding this matter.
 7          3.      The Panasonic Defendants, Indirect Indirect Purchaser Plaintiffs and Direct
8    Purchaser Plaintiffs agree to submit an amendment to this Addendum setting forth their
 9   mutually agreed upon final resolution to this matter within forty-five days following filing of
10   the Stipulated Order.
11

12          This Agreement shall continue in full force and effect until further order of the Special
13   Master or until this litigation is terminated by a final judgment.
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15                  IT IS SO STIPULATED.
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                     ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
     Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 24 of 25



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18   (continued on next page)
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                    ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
     Case 3:07-cv-05944-JST Document 828 Filed 12/16/10 Page 25 of 25



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19                                      Ltd.)

20
            Pursuant to General Order, § X-B, the filer attests that the concurrence in the filing of
21
     this document has been obtained from each of the above signatories.
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                    ADDENDUM TO STIPULATED ORDER REGARDING PRODUCTION OF ESI
